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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re                                                          Chapter 11

STREAM TV NETWORKS, INC.,                                      Case No.: 23-10763 (AMC)
                                                               (Jointly Administered)1
         Debtors.


                                      NOTICE OF WITHDRAWAL

         PLEASE TAKE NOTICE that on August 21, 2024 Visual Semiconductor, Inc. (“VSI”)

by and through the undersigned counsel, filed its Limited Objection to the Application of the

Chapter 11 Trustee to Employ SSG Advisors LLC as Investment Banker [ECF No. 717]

("Objection").

         PLEASE TAKE FURTHER NOTICE that VSI hereby withdraws its Objection.



Dated: September 18, 2024                            Respectfully submitted,


                                                      /s/ R. Adam Swick
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                                                     -and-
                                                     R. Adam Swick (Admitted Pro Hac Vice)
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 On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).


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                                 CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a copy of the foregoing was filed electronically with
the United States Bankruptcy Court for the Eastern District of Pennsylvania on September 18,
2024 with notice sent electronically to all parties receiving electronic notices in this case pursuant
to local rules of this Court, and that no further notice or service is necessary.


                                                /s/ R. Adam Swick
                                               R. Adam Swick




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